Case 24-50792-hlb Doc 1373 Entered 12/23/24 11:05:01 Page 1 of 23

NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA Ha ste10) 00) 0
AT BOTS OD

Name of Debtor: Case Number:
Meta Materials, Inc. 24-50792
1. Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor. Referred to hereinafter as the O Check box if you are aware that anyone
“Interest holder”): else has filed a proof of interest relating to

Telephone Number: (949) 735-1166 the address on the envelope sent to YH HN Y A. SCHOTT, CLERK

your interest. Attach copy of statement RECEIVED
i ivi tticulars.
Eric Chang giving particulars AND FILED

33 Chicory Way Irvine, Rl Check box if you have never received
any notices from the bankruptcy court or
CA 92612 the Debtors in this case. DEC i 3 2024

U1 Check box if this address differs ln, BANKRUPTCY COURT

the Debtors.

NOTE: This form SHOULD NOT be-used to-make.a claim against the Debtor for money owed. A separate Proof of Claim

form should be-used for that purpose..This form should only be-used-to assert an Equity Interest in the Debtor. An. Equity
“Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security-is defined

in the Bankruptcy Code as (a) a share in a corporation whether or not transferablé or denominated stock or similar COURT USE ONLY

security, (b) interest of a limited partuer in a limited partnership, or (c) warrant or right other than a right to convert, ta

purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or (b) herein. .

Account or other number by which Interest holder identifies Debtor: Check here if this claim:
TD Ameritrade 422-1211872 Charles Schwab 3131-2465 O replaces a previously filed Proof of Interest dated:

O amends a previously filed Proof of Interestdated:

2,

Telephone Number: (800) 435-4000

Name and Address of any person or entity that is the record holder for 3. Date Equity Interest was acquired:
the Equity Interest asserted in this Proof of loterest: July 2021- November 2021

Charles Schwab See attached documentation
3000 Schwab Way, Westlake, TX 76262

4. Total amount of member interest: 89 shares for $41,100.30 5. Certificate number(s): N/A; See attached documentation
6 Type of Equity Interest:

Please indicate the type of Equity Interest you hold:

Check this box if'your Equity Interest is based on an actual member interest held in the Debtor.

1 Check this box if your Equity Interest is based on anything else and describe that interest:
Description:
7. Supporting Documents; Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.

DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.
8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.

9. Signature:

Check the appropriate box.
Filam the creditor. © 1am the creditor’s authorized agent. O Lam the trustee, or the debtor, O 1am a guarantor, surety, endorser, or othercodebtor,
(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)

(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: _ Eric Chang

Title: fis Aore
Company:___ Address and telephone number (if different from notice / a fee
addressabove): (Signatufé) ~ (Date)

Telephone number: (949) 735-1166 email: ¢chang00@gmail:com

Penalty for presenting fraudulent claim is a fine of up to $506,000 or imprisonment for up to 5 years, er both. 18 U.S.C. §§ 152 AND 3571
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Proof of Interest Supplemental Information:

Meta Materials, Inc.
Case: 24-50792
For: Eric Chang

TD Ameritrade
Account #:.422-1211872

Charles Schwab
Account # 3131-2465

Transactions
Date Symbol Type (BUY/SELL/OTHER) Quantity Price/Share Amount
7/2021 MMAT BUY 1429 $7.09 $10,131.61
7/2021 MMAT BUY 2718 34.0101 $10,899.45
7/2021 MMAT BUY 2132 $4.01 $8,549.32
7/2021 MMAT BUY 100 $4.0098 $400.98
7/2021 MMAT BUY 100 $4.0094 $400.94
11/2021 MMAT BUY 2400 $4.47 $10,728.00
Total Shares 8879 $41,100.30
TD was transferred to Charles Schwab June 2023 MMATQ 89 $41,104.87

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i) Ameritrade °®<:277

OMAHA NE 68103-2577

ERIC CHANG
33 CHICORY WAY
IRVINE, CA 92612

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Terms and Conditions

TD Ameritrade provides monthly statements far accounts with activity and quarterly statements for
inactive accounts with assets, *

Portfolio Summary: Tracks the current value of your portiolic as of ihe report date and compares it
to the prior month? Fhe asset allocatlon indicates your portfolio diversification by investment type.

Multiple allocations under 5% wil ba grouped inte the catagory of “Other" in the pie charL Margin Equity
= Total Account Equity! {Total Long Marginable Value + Tota! Short Value}

Activity Summary: The opening and closing cash balances are reconciled here for quick reference.
All account activity is summarized for the current peried and year-to-date.

Income & Expense Summary (non4RAs only): This section details the income and expense totals
from the Activity Summary and classifies the tax treatment.

Reti t Account S ¥ (IRAs only): Review the IRS regulated transactions for the current
and prior years, IRS Form 5498 fair market value is based on the current account vatua including
Alternative Investments as of Dacember 31 of the previous year and will be furnished to the [RS.

Performance Summary: Monitor annuat portfofo performance and the urvealzed gains ard losses
for your future investment strategy.

Account Positions: View your investments at the current markel value and compare the original cost
to see unrealized gains and fosses In your portictio. Original cost is assigned using the jirst-in, first-out
(FIFO) mathed, which assumes the first shares you sell are those you purchased first. The ostimated
investment income and average cost per share are displayed for your sef {the oldest p

date is shawn for an indication of your holding paricd). This asemns a

assets and account activity of your account only, There is no guarantee that you will mie this
amount or any dividend,

Account Activity: All account activity Is listed in date order, and reflected in the closing cash
balance.

Trades Pending Settlement: Confem executed (ades wih a seitement data after momh erd, These
transactions will be reflected in the Account Activity section next month,

Online Gash Services Transaction Detail: Cash management transactions that cleared during this
period, inctuding check, debit card and ATM activity, are listed in date order.

Online Cash Services Surmmary: Credit and debit transaction totals for the current pariod ara
summarized, Individual transactions are net listed,

TD Ameritrade does not provide legal or tax advice. Please consult your legal advisor or tax
accountant when necessary.

Accuracy of Reports: Plaasa reviow this statemant carefully, f you disagree with any
Wansaction, orif there are any orrors of omissions, please contact us at 800-669-3900 within ten
(10) days of your raceipi cf this statament, Any oral statements that you have mada to us should
be cenfinmed In writing, The staternont will otherwise be considered conclusive,

Account Protection: TD Ameritrade FDIC Insured Deposit Account CIDA") deposits ara held at ane or
more banks ("Program Banks"), Threa of the Program Banks are Charles Schwab Bank, SSB; Charles
Schwab Premier Bank, 555; and Charles Schwab Trust Bank, each an affifate of TO Ameritrada, IDA
deposits are Insured by the FDIC (not covered by SIPC) up to $250,000. Limits ara per account
ownership per insiltution. To !eam more about FDIC coverage go to www.fdlo.gov. Securities, including
mutual funds, held Jn your Brokerage Account are not deposits or obligations of, or guaranteed by,

any bank, are not FDIC-insured, and involve investment risks, including possibla loss of principal.

TD Ameritrade is a member of SIPC, which protects securities customers ofits members up to
$500,000 (including $250,000 fer claims for cash). Explanatory brochure is availabla on request at
wenw.Sipc.org.

Additionally, TD Amertrada provides each clert $149.5 milion worth of protection for securites and $2

foiion of protection for cash through supplemental coverage provided by London insurers. Inthe evant of
brokeraga insolvency, a cilant may receive amounts due from the trustee in bankruptcy and then SIPC.
Supplementa! coverage is paid out afler the trustee and SIPC payouts and under such coverage each
client is limited to a combined ratum af $152 million from a teustee, SIPC and London insurers. The

TD Ament has an aggregate limit of $600 million over al! customers. This
policy provides coverage following brokerage insolvency and does not protect against Joss in market
value of the securitias,

An investment In 4 money market fund [s not insured cr guaranteed by the FDIC cr any other
government agency, Although certain money market funds may seek to preserve their value of your
investment at §1 per share, it is possible to lose money by investing in such a fund, Mutual fund
purchases may be subject to eligibility and other restrictions, as well as charges and expenses.
Certain monay market funds may impose liquidity faas and rademption gates in certain circumstances,

Dividends are declared daily and paid‘reinvested monthly. The prospectus contains this and other
important Information, Read tha prospectus carefuly before investing. NorHdeposit ir heki by
your broker-dealer are NOT FDIC INSURED / NOT BANK GUARANTEED / MAY LOSE VALUE.

Due ta rounding adjustments, the statement details may not equal the statement totals,

?Estimated Annua! Income and Estimated Annual Yield values are based upon the number of shares
owned or current value balance as of tha statement date and the most recent dividend rate or cash
yield provided,

The balance in your bank deposit account or shares of your money market mutual fund can be
liquidated on your order, and the proceeds retumed to your securities account or remitted te you,

Tax Reporting: The portfolio repart is not a tax document, You will receive Fern 71099 for annual
tax reporting in compliance wilh (RS requirements (includes taxable interest, dividends, capital
gains, taxes withheld, and sales proceeds). Some payments are subject to reclassification which
will be reflected on subsequent tax reports,

Coat Bas|s: Cost-Basis, tax tot and performance reporting and Gainskeeper ara offered and
conducted by CCH INCORPORATED. TD Ameritrade is not responsible for tha rellability or
suitability of the information. TD Ameritrade and its information providers do not guarantee
the accuracy of the informatian end deta ta Provided. CCH INCORPORATED is a separate company
andis not afftated wth TO Ameritra:

Margin and Options Account Aqreaments: Promptly advise TD Ameritrade In writing of any
change In your investment objectives or financial situation as they pertain to your margin or
options account agreements. Commissian/Fee represents base commission and any options
contract, exercise, and assignment fees.

Current Market Prices: Tha market values of securites have been obtained, if avallabla, from
quotation services and other indepandent sources, Values are based on the closing price, the maan
between the bid and asking prices, or other methods. If no market value is available froma quotation
service or other independent source, the securily is subject to being reflected as Net Available NA").
Ths valuations on your porfolo report are provided as general Information and we do not guarantee:
the accuracy of any securities prices. Mortgage backed positions are valued using the remaining
batnce and the current market price. Portfels report valuations may not represent sales proceeds.
The secondary marketfor Certificates of Deposits CCDs”) is generally iiquid and the actus! valuo
may be different from the purchase price. A significant loss of principal may resut from the sale of a
CD prior tp maturity, Bonds and/or Fixed Income Securities rede differently than equity secunites and
do not trade ona quid exchange, Rather, they trade in tha OTC (over the counter) market and
sufficient Equity may not exis! for youto sel your position prior to maturity. The sale of bonds pricr to
maturity may resui Ina loss of principal

Bonds Quantity: The figure cn the staternent represents the number of bonds, Far example, $3,000
of a $1,000 face value bond would display as r in the quantity,

Altemative hwestments ("AP"), also caled Non Standard Assets (NSA’), are typically investments
in drect participation program securites (partnerships, imited Eabiity companies, or realestate
investment trusts), commodity pock, private equity, private debt or hedge funds. Al are typicaly
HEquid investments and do pot rade ona national securities exchange. The values shown for these
investments are estimated values derived from various methods, including, but not Emited te,
unconfirmed management estimates, Independent appraisais, the program's netassets, and/or third
party tender offers thal have been provided by the management, administrator, ander sponser of
each program, or bya third-party vendor without independent verification by TD Ameritrade, Values
say not reflect the original purchase price, actualmarket valve or be realized upon Iquidation. fan

4 canna! be bi hed throush these methods, the valuabon ray be reflactedas Nat
Available (NA") For additional detail regarding val ts, plaase contact
Clent Services, These investments ara not covered rhe SIE Al transacton{ees are
applicable to p . capital call pr Ing, and redemptions,

A Distrbutions on Direct Participation Programs and/or REITs are reported anda netinvestment par
share estimated value is also reported. Pricing and distribution information nas been provided by tha

sponsor, issuer or other extemal party responsible for reporting of tha DPP or REIT and the
classification of distributions as income or retum of capital, inwhob or in part, [s subject to finat
accounting by such party(ies) and will be reposted to you on a Form 1099 or K=1, as applicable.

Auction Rate Sacuritles ("ARS") Pricing: The market values for ARS secunties have been
obtained, if available, from quotation services or other independert sources. The accuracy of the
pricing is nat guaranteed, If a market value is not avalabe, TD Ameritrade wi price the ARS position,
taking into consideration both the liquidity and underlying credit quality, The ARS may lack Iquidity

and, as a result, there can be no assurance that such securities can be sold under current market
conditions,

Al rargactions are subjectte (I) tha constitution, rues, reguiaiions, customs and usages of tha oxchange or
merket, ands dearinghouse, Fany,on ct) faceral arc and the
Tues eguistions F dgated and (iti) the rues and reguiations of FINRA and the Federal
Reserve System,

Foran investor brochure that Includes information describing FINRA’s Pubic Disclosure Program,

please contact FINRA at 800-289-9999 ar wawfinra.org,

The interest rate shown for TD Ameritrade Cash is taken from the applicable interest rate tler
for the Market Vala bafance in the TD Ameritrade Cash, as of the statement closing date.
Simple interest is accrued daily based on the interest rate ter appicable to each day's balance,

MSRB RULE G-10: TD Amenitradg, Inc. is registered with tha Municipat Securities Rulemaking
Board and the U.S. Securittes and Exchange Commission. The website address for the Municipal
Securities Rulemaking Board Is http:/Avww.msrb.org, An investor brochure is available an the
website of the Municipal Securities Rulemaking Board which describes the pr icons that may be
provided by tha Municipal Securities Rulemaking Board rules and how to fila a complaint with an
appropriate reguiatary authority.

Financial Statement Notification: The statement of financial condition for
TD Ameritrade Clearing, Inc. Is available twice a year and may be obtained at no cost, via the
internet at http:/Ayww.tdamentrade.cam/financialstaternent.htm!.

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Option Assignment: All short equity option positions and some index option positions are
available for assignment. Exercise assignment notices for equity or index options ara randomly
allocated amang all clients' short positions.

Free Credit Balances (Rule 15¢3-2 & 3}: Under the client protection rules, wa may usa
free credit balances in your account in the ordinary Course of our business which ara
payable to you on demand,

Margin Accounts (Regulation T}: If you have a margin account, this report is a combination of
your margin account and a special memorandum account. Trading an margin poses additional
risks and is not suitable for all investors, A complete listof the risks associated with margin tracing is
available in the margin risk disclosure document. You may obtain a copy of this document by
contacting us at the number listed on page ona of your statement

Payment for Order Flow Discloaure (Rules 606 and 607): Rule 607 of Regulation NMS requires.
broker-dealers to disclose, upon opening a new cistomer account and on an annua! basis thereafter:
(i) tts policies regarding receipt cf payment for order flow, including a statement 2s to whether any
payment for order flow is received for routing customer orders and a detailed dascription of the
nature of tha compensation received; and (ii) ils policies for determining where to route customer
orders that are the subject of payment for order flow absent specific Instructions.

The finn receives compensation for directing listed and OTC securities, and optians order flow to
Selected market centers (6.9., broker dealers, exchanges and allemative trading systams for
execution). Compensation generally is in the form of aper share or per contract cash payment. The
potential fer receipt of order flow payment is not a factor in the rautingdetermination. TD Ameritrade
also may receive compensation related to the foreign currency exchange component of transactions
in foreign securities fram market centers executing such trades. In accordanca with SEC Rule 606,
TD Ameritrade posts quarterly reports that datailthe materia! market centers fo which TO Ameritrade
routes orders in NMS Securities and TD Ameritrade’s material relationships with those market
centers. This reportis made avaiable at wow.tdameritrade.com/historical-606-disclesure.page or in
written form upon request, As required under SEC Rule 606(b){1), on request, TD Amerirade will
provide the identity of the market canter ta which your orders were routed for execution in the six
Months. prior to the request, whether tha orders were diracted orders or nonm-directed orders, and the
lime of the executions, if any, that resulted from such orders. This applies to both held and not held
order diow.

TD Ameritvada reguiady assesses the execution quality pravided by tha market cenlers to which we
route order flow in seeking best execution for our clients, For non-cirected client orders, itis our
potcy to raute orders to markel centers based on a number of factors that are more fully discussedin
the Supplemental Materials of FINRA Rule 5310, Including where applicable, but not necessarily
lirted to, speed of execiton, price improvement opportunities, differences in price disimprovement,
ikethood of executions, the marketability ofthe orcer, size quarantees, service fevels and support,
the reliability of order handling systems, customer needs and expectations, ensaction costs and
whether the firm will receive remuneration for routing order flaw to such market centars, Price
improvement occurs when an order is executed at a price that is more favorable than the displayed
national best bid or offer,

Trade Confirmations (Rule 10-10}: All confirmations are transmitted on the transaction date, If
you participate in the Cividend Relnvestment Plan (DRIP) details regarding the reinvestment of
dividends will be included on your monthly statements. TD Ameritrade will act as agent in having
your DRIP purchases exscuted.

Futuras/Cptions Disclosures for El! Clients: In accord, with the Pack d Retail and
Insurance-based Investment Procucts Regulation - EU No 1286, retail investors based in the
European Economic Area {EEA) can access Key Information Documents (KIDS) through the
following landing page: https:/ itrada.ce guiation.paga

Wprip

Taxes: Transactions in foreign securitles (including foreign company ADRs that trade jn the
U.S.) may include taxes and fees charged by the foreign markets or goverments, which
may be reflected in the price of the security or charged as an independent line item.

Privacy Policy Notification: A copy of the TD Ameritrade privacy policy is avallabie at
www.tdameritrada.cam

Callable Securities: Tha allocation of partial eedemptions or calls is done using a pro-rata lottery
system. A description of the procedures for callable securities /s available on the websile or hard
capies are available upon request.

In case of errors or questions about your Electronic Fund Transfers, pleasa contact us at
1-800-469- 3900, ar in writing ta P.O, Box 2209, Omaha, NE 68103, or by email at
vices@tdameritrade.com. Tha Information ccntained in your account statement shall be

binding upon you if you do net object within sixty (60) days for any transfer of funds subject to
Regulation E, such as ATM and point-of-sale transfers, debit transactions, direct deposits, and
withdrawals. We must hear from you no tater than 60 days after we sent you the FIRST
statement on which the error or problem appesred.
(1) Tell us your name and accoun! number.
(2) Describe the error or the transfer you are unsure about, and explain as claarly as you

an why you believa it is an error ar why you need more informatian.
43) Tell us tha dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. ff we take moze than 10
business days to do this, we will credit your accaunt for the amount you think Is in error, so that
you will have the use of the money during the time it takes us te complate aur investigation,

TDA 150 05/21
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i) Ameritrade

800-669-3900

TD AMERITRADE

DIVISION OF TD AMERITRADE INC

PO BOX 2209

OMAHA, NE 68103-2209

TD Ameritrade Clearing, inc., Member S{PC

Current
Investment Value

Prior
Value

Statement Reporting Period:

O7/01/21 -

07/31/21

Statement for Account # 422-121872

ERIC CHANG
33 CHICORY WAY
IRVINE, CA 92612

erates alate

Period
Change

%
Change

Estimated
Income

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Estimated
Yield

Portfolio Allocation

Cash $ -
Insrd Dep Acct (IDA) 480.41
Money Market -
Short Balance -
Stocks 54,976.94
Short Stocks -
Fixed Income -
Opticns -
Short Options -
Mutual Funds -
Other :

$ -

5,215.16

32,769.10

$ -
(4,734.75)

22,207.84

(90.8)%

67.8%

0.01%

Total $55,457.35
Margin Equity 400.0%

$37,984.26

$17,473.09

46.0%

See ae

$212.97

Eeaceeelice eek tte Ue

Berea aina seal elity

Current YTD Reportable Reportable YTD
Opening Balance $ 0.00 $ - Income Cost Basis As Of - 07/31/21 ** $59,236.98
Securities Purchased (30,382.30) (56,596.18} Dividends $19.61 $C $71.81 Unrealized Gains 6,066.53
Securities Sold - - Interest - - - Unrealized Losses (10,326.57)
Funds Deposited 25,632.00 25,632.00 Other - - - Funds Deposited/(Disbursed) "™ 25,632.00
Funds Disbursed - - Expense Income/(Expense)"™ 67.69
Income 19.61 71.81 Interest - - - Securities Received/{Delivered)™? 0.00
Expense (4.12) (4.12) Fees - - - “To view realized gains and losses for your account, login at
Other 4,734.81 30,896.49 Other . (4.12) (4.12) www. tdameritrade.com and visit My Account > Cost Basis.
Closing Balance §$ 0.00 $0.00 Net $19.61 ($4.12) $67.69

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Statement for Account # 422-121872
07/01/21 - 07/31/21

a MPM Tek reseed ce eee a. ae
Description Current Year To Date
CREDITS
Electronic Transfer $ 25,632.00 $ 25,632.00

Subtotal 25,632.00 25,632.00
TOTAL 25,632.00 25,632.00

ee ecticmss itis alc ke

Description Current Year to Date
Foreign Dividend Tax Withheld $ (4.12) $ (4.12)
Qualified Dividends 19.61 71.81
IDA Interest 0.06 0.99

“This section displays current and year to date totals for thls account. The year to date totals will accurately reflect your cumulative amount for the year. Year-end tax reporting income amounts may differ from what is reflected on
monthly statements versus your tax documents, Please reference your official tax documentts) for tax reporting,

= EN Soames ees a Z
Symbol/ Current Market Purchase Cost Average Unrealized

Estimated

Investment Description CUSIP Quantity Price Value Date Basis Cost Gain(Loss) Income Yield
Stocks - Margin

23ANDME HLDG CO ME 312 $ 7.85 $2,449.20 02/05/21 §$ 5,069.97 $ 16.25 $ (2,620.77) $- =
COM

APPLE INC AAPL 43 145.86 6,271.98 05/11/21 5,304.91 123.37 967.07 37.82 0.6%
COM

DISCOVER FINANCIAL DFS 30 124.32 3,729.60 04/14/14 1,657.30 55,24 2,072.30 60.01 1.6%
SERVICES

COM

MCDONALD'S MCD 10 242.71 2,427.10 09/25/13 983.50 98.35 1,443.60 51.60 2.1%
CORPORATION

COM

META MATERIALS INC MMAT 6,479 3.50 22,676.50 07/01/21 30,382.30 4.69 (7,705.80) - -
COM

NOKIA OYJ NOK 100 6.08 608.00 01/28/21 535.00 5,35 73,00 - -
ADR SPONSORED

TAIWAN TSM 44 116.64 §,132.16 05/03/21 5,104.00 116.00 28.16 63.54 1.2%
SEMICONDUCTOR

MANUFACTU

ADR SPONSORED

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Statement for Account # 422-121872
07/01/21 - 07/31/21

Symbol/

P Rrra alice

Unrealized

Estimated

Current Market Purchase Cost Average
Investment Description CUSIP Quantity Price Value Pate Basis Cost _Gain(Loss) Income _‘Yield
Stocks - Margin
TESLA INC TSLA 17 687.20 11,682.40 03/26/21 10,200.00 600.00 1,482.40 - -
COM
Total Stocks $54,976.94 $59,236.98 $(4,260.04) $212.97 0.4%
Total Margin Account $54,976.94 $59,236.98 $(4,260.04) $212.97 0.4%

Transaction Date

ey item er: east indies om eer bk Osi

: Amount

‘Category Description
CREDITS
Electronic Transfer 07/01/2021 ACH IN $ 5,000.00
07/02/2021 ACH IN 10,000.00
07/02/2021 ACH IN 132.00
07/12/2021 ACH IN 10,000.00
07/14/2021 ACH IN 500.00
Subtotal 25,632.00
TOTAL 25,632.00

Settle Transaction/

rie isa

Trade Acct Symbol/

Date Date Type Cash Activity* Description CUSIP Quantity Price Amount Balance
Opening Balance $0.00
06/30/21 07/01/21 Margin - Funds Deposited ACH IN - - $ 0.00 $ 5,000.00 5,000.00
07/01/21 07/01/21 Margin Jourmal - Other PURCHASE FDIC INSURED - - 0.00 (5,000.00) 0.00

DEPOSIT ACCOUNT
07/01/21 07/02/21 Margin - Funds Deposited ACH IN - - 0.00 10,000.00 10,000.00
07/01/21 07/02/21 Margin - Funds Deposited ACH IN - - 0.00 132.00 10,132.00
07/02/21 07/02/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (10,732.00) 6.06
DEPOSIT ACCOUNT
O7/01/21 O7/06/21 Margin Buy - Securities Purchased META MATERIALS INC MMAT 4,429 7.09 (10,131.61) (10,131.61)
COM

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Statement for Account # 422-121872
07/01/21 - 07/31/21

esr Li 5
Symbol/

Trade Settle Acct Transaction/

Date Date Type Cash Activity” Description CUSIP Quantity Price Amount Balance

07/06/21 07/06/21 Margin Journal - Other REDEMPTION FDIC INSURED - - 0.00 10,131.61 0.00
DEPOSIT ACCOUNT

07/09/21 07/12/21 Margin - Funds Deposited ACH IN - - 0.00 10,000.00 10,000.00

07/12/21 07/12/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (10,000.00) 0.00
DEPOSIT ACCOUNT

07/13/21 07/14/21 Margin - Funds Deposited ACH IN - - 0.00 600.00 500.00

07/14/21 07/14/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (500.90) 0.00
DEPOSIT ACCOUNT

07/13/21 O7/15/21 Margin Buy - Securities Purchased META MATERIALS INC MMAT 2,718 4.0101 (10,899.45) (10,899.45)
COM

07/43/21 07/15/21 Margin Buy - Securities Purchased META MATERIALS INC MMAT 2,132 4.01 (8,549.32) (19,448.77)
COM

07/13/21 07/15/21 Margin Buy - Securities Purchased META MATERIALS INC MMAT 100 4.0098 (400.98) (19,849.75)
COM

07/13/21 = O7/15/21 Margin Buy - Securities Purchased META MATERIALS INC MMAT 100 4.0094 (400.94) (20,250.69)
COM

07/15/21 07/5/21 Margin Journal - Other REDEMPTION FDIC INSURED - - 0.00 20,250,69 0.00
DEPOSIT ACCOUNT

07/15/21 = O7/15/21 Margin Div/Int - Income TAIWAN SEMICONDUCTOR TSM - 0.00 19.61 19.61
MANUFACTU
ADR SPONSORED
Payable: 07/15/2021
QUALIFIED DIVIDENDS 19.61

07/15/21 07/15/21 Margin _—_—Div/Int - Expense TAIWAN SEMICONDUCTOR TSM - 0.00 (4.12) 15.49
MANUFACTU
ADR SPONSORED
Foreign Tax Adjustment
Payable: 07/15/2021

O7/16/21 = O7/16/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (15.49) 0.00
DEPOSIT ACCOUNT

Closing Balance $ 0.00

“For Cash Activity totals, refer to the Cash Activity Summary on page one of your statement.

page 4 of 6
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Statement for Account # 422-121872
07/01/21 - 07/31/21

a MN rience nae Res j
Begin Number Interest Interest MTD MTD

Date Balance of Days Rate Accrued Accrued PAID
07/01/21 $ 10,215.16 1 0.0100 $- $ - $ -
07/02/21 20,347.16 4 0.0100 0.03 0.03 -
07/06/21 10,215.55 6 0.0100 0.01 0.04 roe
o7/12/21 20,215.55 2 0.0100 0.01 0.05 -
07/14/21 20,715.55 1 0.0100 0.01 0.06 -
07/15/21 464.86 1 0.0100 - 0.06 -
07/16/21 480.35 16 0.0100 - 0.06 0.06

Total Interest Income $0.06

a a cee eissiie ciel lajeststndisg a
Date Check Date Tracking Expense

Cleared Number Written‘ Transaction Description Code Code Amount Balance
Opening Balance $5,215.16
07/01/21 - 07/01/21 Received FDIC INSURED DEPOSIT ACCOUNT - - $ 5,000.00 10,215.16

CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT
07/02/21 - 07/02/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 10,132.00 20,347.16
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT
O7/06/21 - 07/06/21 Delivered FDIC INSURED DEPOSIT ACCOUNT - - (10,131.61) 10,215.55
CORE NOT COVERED BY SIPC
REDEMPTION FDIC INSURED
DEPOSIT ACCOUNT
o7/12/21 - 07/12/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 10,000.00 20,215.55
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT
07/14/21 - 07/14/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 500.00 20,715.55
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT
07/15/21 - 07/15/21 Delivered FDIC INSURED DEPOSIT ACCOUNT - - (20,250.69) 464.86
CORE NOT COVERED BY SIPC
REDEMPTION FDIC INSURED
DEPOSIT ACCOUNT
07/16/21 - 07/16/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 15.49 480.35
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT

page 5 of 6
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Statement for Account # 422-121872
07/01/21 - 07/31/21

Mec eevee cerinewshiian

Date Check Date Tracking Expense
Cleared Number Written = Transaction Description Code Code Amount Balance
07/30/21 - 07/30/21 Received Interest: Insured - - 0.03 480.38
Deposit Account Bank USA
07/30/21 - 07/30/21 Received Interest: Insured - - 0.03 480.41
Deposit Account Bank NA
Closing Balance $480.41
TD Bank NA $0.03
TD Bank USA NA

$480.38

FDIC tnsured Deposit Account (IDA) balances reflected in your brokerage account are FDIC-insured up to applicable limits and held by one or more banks ("Program Banks"). Three of the Program Banks are Charles Schwab Bank,
SSB; Charles Schwab Premier Bank, SSB; and Charles Schwab Trust Bank, each an affiliate of TD Ameritrade.

CUM

BREAKPOINTS

Certain purchases of Class A Mutual Funds may be eligible for breakpoints on, and waivers of, the sales charge. To learn more about breakpoint discounts, go to
http:/Avww.finra.org/industry/issues/breakpoints. For more information on waiver eligibility, please refer to the fund prospectus.

page 6 of 6
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2) Ameritrade °° 2*2577

OMAHA NE 68103-2577

ERIC CHANG
33 CHICORY WAY
IRVINE, CA 92612
Case 24-50792-hlb Doc 1373 Entered 12/23/24 11:05:01

Terms and Conditions

TD Ameritrade provides monthly statements for accounts with activity and quarterly statements for
inactive accounts with assets. !

Portfollo Summary: Tracks the current value of your portfolio as of the report date and compares it
to the prior month? The asset allocation indicates your porttolio diversification by invastment type.
Multiple albcations under 5% willbe grouped inip the category cf "Other" in the pie chart Margin Equity

= Tota! Account Equity? {Total Long Marginatie Value + Total Short Vala)

Activity Summary. The opening and closing cash balances are reeoncied here for quick reference.
All account activity ls summarized for the current period and year-to-date,

I & Expense 5 ¥ (non{RAs only): This section details the incoma and expense totals
from the Activity Summary end classifies the tax treatment.

Retirement Account Summary (IRAs only}: Raview the IRS regulated transactions for the current
and prior years. IRS Form 5498 fair market value is based on the current account value Including
Altamativa Investments as of December 31 of the previous year and will be furnished to tha IRS.

Performance Summary: Monitor annual porifofo performance and the unrealized gains and losses
for your future Invesiment stralegy.

Account Positions: View your investments at the current market value and compare the criginal cost
to see unrealized galns and losses in your portfolio, Original cost is assigned using the first-In, first-out
(FIFO) methed, which assumes the first shares you sell are those you purchased first, Tha estimated
investment income? and average cost per share are displayed for your referance (the oldest purchase
date is shown for an indication of your holding period). This statement represents a statement of
account assets and account activity of your account only. There is no guarantee that you will receive
this amount or any dividend.

Account Activity: All account activity is listed in date order, and reflected In the closing cash
balance.

Trades Pending Settlemont: Confirm exacuted trades wth a settlement dats aftar month end. Thesa
transactions will be reflacted in tha Account Activity section next month.

Online Cash Services Transaction Detal: Cash management transactions that cleared during this
period, including check, debit card and ATM activity, are listed in date order.

Gnilne Cash Sarvices Summary: Credit and debit transaction totals for ine current peried are
summarized. Individual transactions are not listed.

TD Ameritrade doas not provide legat or tax advica. Please consult your legal advisor or tax
accountant when necessary,

Accuracy of Reports: Plaaso roview this statemant carefully. If you disagree with any
transaction, or if thers are anyorrors or omissions, please contact TD Amaritrade, Inc. and

TD Ameritrade Clearing at 800-669-3900 within ten (10} days of your recelpt of this statement.

Ta further protect your rights, Including rights under the Securities Investor Protection Act (SIPA),
any oral statements that you have made should be confirmed to TD Ameritrade and

TD Ameritrade Clearing, ine. In-wilting. The statement will otherwise be considered conclusive.

Account Protection: TD Ameritrade FOIC insured Deposit Account ("IDA") deposits are held at one or
More banks ("Program Banks"), Three of the Program Banks are Charles Schwab Bank, SSB; Charles
Schwab Premier Bank, SSB; and Charles Schwab Trust Bank, each an afffats of TD Ameritrade, IDA
deposits are insured by the FDIC {not covered by SIPC} up to $250,000. Limits are per acccunt
ownership per institution. To laam more about FDIC coverage go to www.idic.gav. Securities, induding
mutual funds, held in your Brokerage Account are oot deposits or obligations of, or quarantasd by,

any bank, are net FDIC-insured, and involve investment risks, including possible loss of principal,

TD Ameritrade is a member of SIPC, which protects securities customers of Its membors up to
$500,000 (including $250,090 for claims for cash), Explanatory brochure fs avaliable on request at
wwnw.sips.org,

Additionaly, TD Amertrada provides each clent $149.5 milion worth of protection forsecuriies and $2
miionof protection for cash through coverage provided by London insurers, in tha event of

brokerage insofvency, a cliant may receive amounts due from the trustee In bankruptcy and Lhen SIPC.

Supplemental! coverage Is paid out after the tristee and SIPC payouts and under such coverage each
client is timited to a combined return of $152 millian from a trustee, SIPC and Londen insurers. The
TD Ameritrade supplemental coverage has an aggregate limit of $500 million over all custamers. This.
Policy provides coverage following brokerage insolvency and does not protect against loss In market
yalue of the securities.

An investment in a money market fund is not insured or guaranteed by the FDIC or any other
government agancy. Although cartain maney market funds may seek to preserve lheir yalua of your
investment at $1 per shara, itis possible to lose money by investing in such a fund. Mutual fund
Purchases may be subject to eligibility and other restrictions, as well as charges and expanses.
Certain money market funds may imposoe liquidity fees and redemption gates in certain circumstances,

Dividends are declared dally and pald/reinvested monthly, The prospectus contains thls and other
Important Information, Read tha pecs cai befora investing. Non-deposit Investments held by
your broker-dealer sre NOT FDIC INSURED / NOT BANK GUARANTEED / MAY LOSE VALUE.

‘Due to rounding adjustments, the statement details may not equal the stetemant totals,

“Estimated Annual Income and Estimated Annual Yield values are besed upon the number of shares
owned or current value balaneg as of he statement date and the most recent dividend rate or cash
yield provided.

The balance in your bank deposit account or shares of your money market mutual fund can be
liquidated on your order, and the proceeds retumed to your securities account or remitted fo you,

Tax Reporting: The portfolio report is not a tax document. Yau will receive Form 1099 for annual
tax reporting in compliance with IRS requiraments (includes taxabie interest, dividends, capital
gains, taxes withheld, and sales procseds}. Some payments are subject to reclassifi cation which
will be reflected on subseguent tax reports.

Cost Basis: Cost-Basis, tax lot and performance reporting and Gainskeeper are offered and
conducted by CCH INCORPORATED. TO Amanitrade is not responsible for the reliabllity or
suitabillly of the information, TD Ameritrade and its information providers do nol quarantes

the @ccuracy of the information and data provided. CCH INCORPORATED \s a separate company
andis nat afhiated wth TD Ameritrade.

Margin and Options Account Agreements: Be aware of the follawing: 1) Commissions and
other charges related to the execution of option transactions have been included in confirmations
of such transactions previously furnished to you ard will be made available promptly Upon request.
2) Promptly advise TD Ameritrada in writing of any change in your Investment objectives ar
financial situation as Uhay pertain to your margin or options account agreements. Cammission/Fee
represents base commission and any options contract, exercise, and assignment fees.

Current Market Prices: The market values of securitias have baen obtained, if available, from
quolabon services and other independent sources. Values are based on the closing prica, the mean
between the bid and asking prices, or olher methods. Ifno market value is available froma quotation
service or oiher independent source, the Security is subject to being reflected as Nol Available CNA").
The valuations on your portfolo report ane provided as general information and we do not guaranties:
the accuracy of any securities prices. Mortgage backed positions are valved using the remaining
balance and the current market price. Portfolio report valuations may not represen sales proceeds.
Tha sacondary market for Certficales of Deposits CDs") is generally diquid and the actual valua
may be diferent from the purchase price. A significant css of principal may resut from tha sale of a
CD prior to maturity. Bonds endior Fixed Income Securities trade differently than equity securities and
do not trade ona Iquid exchange. Rather, they trade in the OTC (cver the counter) market and
sufficient iquidity may not exis! for you to sef your position prior to maturity, The sale of bonds prior to
Thatuily may resuttin a loss of principal,

Bonds Quantity: The figure on the statement represents the number cf bands, For example, $3,000
of a 34,000 face value bond would display as “3” in the quantity.

Altemative Investments (“AN), also cafed Non Standard Assets ("NSA"), are typicaly lnvestnents
indirect parfcipation program securities (partnerships, krited Fabiily companies, or real estate
investment inusts}, commodity pools, private equily, private debt or hedge funds, Al are typicaly
Tiquidinvesiments and de not rade on a ratonalsecurties exchange. The values shown for these
Invesiments are estimated values derived from various methods, including, but net Iimited to,
unconitmed management estimates, independent appraisals, the program's netassets, andor third
party tender offers that have been provided by the management, administrator, and/or sponsor of
each program, or by a third-party vendor without independent veriicaton by TD Ameritrade, Values
Tay not reflect the original purchase price, actual market value or be realized upon Iquidation. Efan
estimated value cannot be I through these methods, the valuation may be reflectedas Not
Available (NAC). For additional detail regarding valuation for Atemmative investments, pleasa contact
Clent Services. These Investments are not covered under the SIPC. Al transaction faes are
applicable to purchases, capital call processing, and redemptions.

A Distributions on Direct Participation Programs and/or REITs are reported and a nat Investment per
share estimated value §s also reported. Pricing and distribution information has been provided by the
Sponsor, issuer or other extamal party responsible for reporting of the DPP of REIT and the
clessification of distrbutions as. income or retum of capital, in whole or in part, is subject to firtal

accounting by such party{ies) and will be reported to you on a Form 1099 or K+1, as applicable,

Auction Rate Securities {"ARS") Pricing: The market values for ARS securities have been

if from services of other independent sources. The accuracy of tha
Pricing is not guaranteed. Ifa market valua [s not avaible, TD Ameritrade wil price the ARS position,
iaking Into consideration both the Equidity and underlying credit quailty. The ARS may ick Iquidity
and, as a result, thera can be no assurance that such securities can be sold under current market
conditions.

Allransactions are subject to (!) the constitution, rules, regulations, customs and usages of tha exchanga or
Markel, ands olsainghouse, i any, on which such transactions are executed (i) federaland'stata ims, and tha
ules and reguistions promuigated thereunder; and (if) the cides and requiations of FINRA and tha Federat
Reserve System,

For an investor brochure that includes information describing FINRA’s Public Disclosure Program,
lease contact FINRA at 800-289-9999 or www.finraong.

The interest rate shown for TD Ameritrade Cash is taken from the applicable interest rate tler
for the Market Value balance in the TD Ameritrade Cash, as of the statement closing date.
Simple inierestis accrued daily based an the interest rale ber applicable to each day's balance,

MSRB RULE G-10: TD Ameritrade, Inc, is registered with the Municipal Securites Rulemaking
Board and ihe U.S. Securities and Exchange Commission. The website address for the Municipal
Securities Rulemaking Board is http:/Awww.msrb.org. An investor brochure is available on the
website of the Municipa! Securities Rulemaking Board which ibes the pi that may ba
provided by the Municipal Securities Rulemaking Soard miles and how to file a complaint with an
eppropriate regulatory authority,

Financlal Statement Notification: The statement of financial candition for
TD Ameritrade Clearing, | Inc. is avaltable twice a year and may be obtained at no cost, via the
internet at httpvAvww,td | nent.html.

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Option | Assignment: All shori equity option positions and some index option positions are
for Exercise assi 1i notices for equity oF Index options are randomly
allocated among all cients’ short positions,

Free Credit Balances (Ruia 15¢3-2 & 3}; Under tha client protection rules, wa may use
free credit balances in your account in the ordinary course of cur businass which are
payable to you on demand,

Margin Accounts (Rogulation T): If you have a margin account, this report is a combination of
your margin account and a special memorandum account. Trading on margin poses additional —
risks and {s not suitable fora Investors. A complete listof the risks associated with margin trading is
available in the margin risk disclosure document. You may obtain a copy of this document by
contacting us at the number listed on page one of your statement.

Payment for Order Flow Disclosure (Rules 606 and 607): Rule 607 of Regulation NMS requires
broker-deakrs to dischse, upon opening a new customer account and on an annual basis thereafter:
(i) its policies regarding recelpt of payment for order flow, including a statement as to whether any
Payment for order flow is received for rguting customer orders and a detailed description of the
nature of the compensation recelved; and (ii) its policies far determining where to route customer
orders that ara the subject of payment for order flow absent specific Instructions.

The firm receives compensation for directing listed and OTC securities, and options order flaw to
selecied market centers (e.g., broker dealers, exchanges and altemative trading systams for
execution), Compensation genarally is in the form of aper share or per contract cash payment, The
potential for receipt of order flow payment is not a factor in the routingdetenminaton, TD Ameritrade
also may receive compensation related lo the foreign currency exchange component oftransactions
in foreign securities from market centers executing such trades. In accordance with SEC Rule 605,
TD Ameritrade posts quartery reports that detail the material market centers to which TD Ameritrade
routes orders In NMS Securities and TO Ameritrade’ 'S material relationships with those market
Caniers, This reportis made available at www.td de.comhistorical-806-disclbsure.page or in
written form upon request As required under SEC Rule 606(6)(1). on request, TD Ameritrade will
provide the identity of tha market center to which your orders were routed for execution In the six
months prior to the request, whether the orders were directed orders or non-directed orders, and tha
time of the executions, if any, that resulted from such orders. This applies to both held and not held
order flow.

TDA de regulady the quality provided by the market centers to which we
Toute order flow in seeking best execution for aur clients. For non-cirected client orders, itis our
palcy to route orders to market centars based on a number of factors that are more fullydiscussedin
the Supplemental Materials of FINRA Rule 5310, including where applicable, but not necessarily
init to, speed of exeaton. price improvement opportunities, differences In price dislmprovement,
likelihood of executions, the marketability ofthe orcer, size guarantees, service levels and suppert,
the reliabifity of order handling systems, customer needs and expectations, transaction costs and
whether the firm will raceiva ramuneration for routing order flaw ta such market centers. Price
improvement occurs when an order is executed at a price that is more favorable than the displayed
national best bid or offer.

Trade Confirmations (Rule 10b-10): All confirmations are transmitted on the transaction date. If
you participate In tha Dividend Reinvestment Plan (DRIP) details regarding the reinvestment of
dividends will be included an your monthly statements. TD Amenitrade will act as agent in having
your DRIP purchases executed.

Futures/Options Disclosures for EU Clients: In accordance with tha Packaged Retail and
Insurance-based | Products Regulation - EU No 1286, retail investors based In the
European Economic Area (EEA) can access Key Information Documents (KiDs) through the
following landing page: https://tdameritrade.com/priips-regulation.page

Taxes: Ti in foreign (including foreign company ADRs that trade ia the
U.S.) may include taxes and fees charged by tha foreign markets ar governments, which
may be reflected In the price of the security or charged as an Independent lina item.

Privacy Policy Notification: A copy of the TD Ameritrade privacy policy {s available at
www. tdameritrade,com

Callabie Securitlas: The allocation of parilal redemptions or calls is done using a pro-rata lottery
system. A description of the procedures for callable securities is available on the website or hard
copies are available pon request.

In case of errors or quastions about your Electronic Fund Transfers, please contact us at
1-800-669-3800, or in writing to P.O, Box 2209, Omaha, NE 68103, or by email at
dientservices@tdameritrada.com. The information contained in your account statement shal! be
binding upon you if you do not object within sixty (60) days for any transfer of funds subject to
Regulation E, such as ATM and pcint-of-sale transters, debit ns, dire p and
withdrawals. We must hear from you no later than 60 days after we sent you the FIRST
statement on which the error or problem appeared.
(1) Tellus your name and account number,
(2} Deseribe the error cr the transfer you are unsure about, and explain as clearly as you

can why you bellave itis an error or why you need more informatian.
(3) Tell us the dollar amount of the suspected error,
We wiil investigate your comptalnt and will correct any ezror promptly. If we take more than 10
business days to do this, we will credit your account for the arnount you think is in exror, so that
you will have the use of the money during the time it takes us to completa our Invastigation.

TDA 150 10/21
Case 24-50792-hlb Doc 1373 Entered 12/23/24 11:05:01 Page 13 of 23

" Statement Reporting Period:
Ameritrade 11/01/21 - 11/30/21

800-669-3900 Statement for Account # 422-121872

TD AMERITRADE ERIC CHANG
DIVISION OF TD AMERITRADE INC Fo AICORY Way
PO BOX 2209 ,

OMAHA, NE 68103-2209
TD Ameritrade Clearing, inc., Member SIPC

~ Current Prior Period % Estimated Estimated
Investment Value Value Change Change Income Yield Portfolio Allocation
Cash $ C- $ - S$ - - $  - -
insrd Dep Acct (IDA) 6,745.70 534.84 6,210.86 1161.3% - 0.01%
Money Market - - - - - - IDA
Short Balance - - - - - - 8.0%
Stocks 77,201.23 70,872.68 6,328.55 8.9% 153.01 0.2% an
Short Stocks - - - - - - #
Fixed Income - - - - - . f \
Options - - . - . . ve o
Short Options - - - - - - ‘0 Ss og
Mutual Funds - - - - - - me
Other - - - - - -

Total $83,946.93 $71,407.52 $12,539.41 17.6% $153.01 0.2% 92.0%
Margin Equity 100.0%

em es ee Dee sas es Riera CL
Non

Current YTD Reportable Reportable .YTD
Opening Balance $ 0.00 § - Income Cost Basis As Of - 11/30/21 ** $79,360.59
Securities Purchased (25,769.93) (82,366.11) Dividends $9.46 $ $140.24 Unrealized Gains 14,104.61
Securities Sold 5,823.28 5,823.28 Interest - - - Unrealized Losses (16,263.97)
Funds Deposited 26,148.00 51,780.00 Other - - - Funds Deposited/{Disbursed)*™ 51,780.00
Funds Disbursed - - Expense Income/(Expense)*™ 131.58
Income 9.46 140.24 = Interest - - - Securities Received/(Delivered)"™ 0.00
Expense - (8.66) Fees - - - “To view realized galns and losses for your account, login at
Other (6,210.81) 24,631.25 Other . . (8.66) www. tdameritrade.com and visit My Account > Cost Basis.
Closing Balance $ 0.00 $0.00 Net $9.46 $0.00 $131.58

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Statement for Account # 422-121872
11/01/21 - 11/30/21

OTR er inet adem) tt ae

Description — Current oo Year To Date

CREDITS

Electronic Transfer $ 26,148.00 $ 51,780.00
Subtotal 26,148.00 51,780.00

TOTAL 26,148.00 51,780.00

Uy Tete UCHR T ELTA E: Un iP ©: ; — ; ;
Current Year to Date

Description

Foreign Dividend Tax Withheld $ 0.00 $ (8.66)
Qualified Dividends 9.46 140.24
IDA Interest 0.05 1.04

“This section displays current and year to date totals for this account. The year to date totals will accurately reflect your cumulative amount for the year. Year-end tax reporting income amounts may differ from what is reflected on
monthly statements versus your tax documents. Please reference your official tax document(s) for tax raporting.

ZZ 7 7 Ree eee Ltd a a i
Symbol! Current Market Purchase Cost Average Unrealized Estimated
Investment Description CUSIP Quantity Price Value Date Basis Cost Gain(Loss) Income Yield

Stocks - Margin

23ANDME HLDG CO ME 312 $ 8.22 $2,564.64 02/05/21 $ 5,069.97 $ 16.25 $ (2,505.33) $ - -
COM

APPLE iNG AAPL 43 165.30 7,107.90 05/11/21 5,304.91 123.37 1,802.99 37.81 0.5%
COM

DISCOVER FINANCIAL DFS 30 107.85 3,235.50 04/14/14 1,657.30 55.24 1,578.20 59.99 1.9%
SERVICES

COM

EVOLVE TRANSITION SNMP 12,295 0.7971 9,800.34 11/05/21 15,034.61 1.22 (5,234.27) - -
INFRASTRUCTU

COM UNITS REP CL BLTD

LIAB

MCDONALD'S McD 10 244,60 2,446.00 09/25/13 983.50 98.35 1,462.50 55.21 2.3%
CORPORATION

COM

META MATERIALS INC MMAT 8,879 3.67 32,585.93 07/01/21 41,110.30 4.63 (8,524.37) - -
COM

page 2 of 5
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Statement for Account # 422-121872
11/01/21 - 11/36/21

—_ _ Mein acini) ae
Settle Acct Transaction/ Symbol/

Trade
Date Date Type Cash Activity* Description CUSIP Quantity Price Amount Balance

11/05/21 = =11/09/21 Margin Buy - Securities Purchased EVOLVE TRANSITION SNMP 8,100 1.24 (10,044.00) (10,044.00)
INFRASTRUCTU
COM UNITS REP CL BLTD LIAB

11/05/21 = 11/09/21 Margin Buy - Securities Purchased EVOLVE TRANSITION SNMP 4,201 1.1897 (4,997.93) (15,041.93)
INFRASTRUCTU
COM UNITS REP CL B LTD LIAB

11/05/21 11/09/21 Margin Sell - Securities Sold EVOLVE TRANSITION SNMP 6- 1,22 7.32 (15,034.61)
INFRASTRUCTU
COM UNITS REP CL B LTD LIAB

14/09/21 = 11/09/21 Margin Journal - Other REDEMPTION FDIC INSURED - - 0.00 15,034.61 0.00
DEPOSIT ACCOUNT .

11/08/21 11/10/21 Margin Sell - Securities Sold TAIWAN SEMICONDUCTOR TSM 44- 119.00 5,235.96 5,235.96
MANUFACTU
ADR SPONSORED
Regulatory Fee 0.04

11/10/21 11/10/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (5,235.96) 0.00
DEPOSIT ACCOUNT

11/19/21 9 11/11/21 Margin Div/Int - Incame APPLE INC AAPL “ 0.00 9.46 9.46
COM
Payable: 11/11/2021
QUALIFIED DIVIDENDS 9.46

11/12/21 9 11/12/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (9.46) 0.00
DEPOSIT ACCOUNT

Closing Balance $0.00

*For Cash Activity totals, refer to the Cash Activity Summary on page one of your statement.

Number Interest Interest : a MTD — MTD

: Begin

Date Balance of Days Rate Accrued Accrued PAID
11/01/21 $ 11,262.84 1 0.0100 $ - $ - $ -
11/02/21 534.84 6 0.0100 - - -
11/08/21 16,534.84 1 0.0700 0.01 0.04 -
11/09/21 1,500.23 1 0.0100 - 0.01 -
11/10/21 6,736.19 2 0.0100 - 0.01 -
11/12/21 6,745.65 19 0.0100 0.04 0.05 0.05

Total Interest Income $0.05

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Statement for Account # 422-121872
11/01/21 - 11/30/21

Pa dedi ee ; ; , a
Symbol! Current Market Purchase Cost Average Unrealized Estimated

Investment Description CUSIP Quantity Price Value Date Basis Cost Gain(Loss) Income Yield

Stocks - Margin

TESLA INC TSLA 17 1,144.76 19,460.92 03/26/21 10,200.00 600.00 9,260.92 - -

COM

Total Stocks . $77,201.23 $79,360.59 $(2,159.36) $153.01 0.2%
$77,201.23 $79,360.59 $(2,159.36) $153.01 0.2%

Total Margin Account

Fert Samia die ee Reclierstae tan Plc

Category / Transaction Date Description - : oe Amount
CREDITS

Electronic Transfer 11/01/2021 ACH IN $ 10,148.00

11/08/2021 ACH IN 16,000.00

Subtotal 26,148.00

TOTAL 26,148.00

— ee 7 Pes
Trade Settle Acct Transaction/ Symbol/
Date Date Type Cash Activity* Description CUSIP Quantity Price Amount Balance
Opening Balance $ 0.00
10/28/21 11/01/21 Margin Sell - Securities Sold NOKIA OYJ NOK 100- $ 5.8001 $ 580.00 580.00
ADR SPONSORED
Regulatory Fee 0.01
10/29/21 11/01/21 Margin - Funds Deposited ACH IN - - 0.00 10,148.00 10,728.00
11/04/21 11/01/21 Margin Journal - Other PURCHASE FDIC INSURED - - 0.00 (10,728.00) 0.00
DEPOSIT ACCOUNT
10/29/21 11/02/21 Margin Buy - Securities Purchased META MATERIALS ING MMAT 2,400 4.47 (10,728.00) (10,728.00)
COM
11/02/24 11/02/21 Margin Journal - Other REDEMPTION FDIC INSURED - - 0.00 10,728.00 0.00
DEPOSIT ACCOUNT
11/05/21 11/08/21 Margin - Funds Deposited ACH IN - - 0.00 16,000.00 16,000.00
41/08/21 11/08/21 Margin Joumal - Other PURCHASE FDIC INSURED - - 0.00 (16,000.00) 0.00
DEPOSIT ACCOUNT

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Statement for Account # 422-121872
11/01/21 - 11/30/21

a : Re Sea ie teas =
Date Check Date Tracking Expense

Cleared Number Written ‘Transaction Description Code Code Amount Balance
Opening Balance $534.84
11/01/21 - 11/01/21 Received FDIC INSURED DEPOSIT ACCOUNT - - $ 10,728.00 11,262.84

CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT

11/02/21 - 11/02/21 Delivered FDIC INSURED DEPOSIT ACCOUNT - - (10,728.00) 534.84
CORE NOT COVERED BY SIPC
REDEMPTION FDIC INSURED
DEPOSIT ACCOUNT

11/08/21 - 11/08/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 16,000.00 16,534.84
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT

ACCOUNT

11/09/21 - 11/09/21 Delivered FDIC INSURED DEPOSIT ACCOUNT . - (15,034.61) 1,500.23
CORE NOT COVERED BY SIPC
REDEMPTION FDIC INSURED
DEPOSIT ACCOUNT

11/10/21 - 11/10/21 — Received FDIC INSURED DEPOSIT ACCOUNT - - 5,235.96 6,736.19
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT
ACCOUNT

11412121 - 112/21 Received FDIC INSURED DEPOSIT ACCOUNT - - 9.46 6,745.65
CORE NOT COVERED BY SIPC
PURCHASE FDIC INSURED DEPOSIT

ACCOUNT
11/30/21 - 11/30/21 Received Interest: insured - - 0.05 6,745.70
Deposit Account Bank NA
Closing Balance $6,745.70
TD Bank NA $6,745.70

FDIC Insured Deposit Account (IDA) balances reflected in your brokerage account are FDIC-insured up to applicable limits and held by one or more banks (“Program Banks”), Three of the Program Banks are Charles Schwab Bank,
SSB; Charles Schwab Premier Bank, SSB; and Charles Schwab Trust Bank, each an affiliate of TD Ameritrade.

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BREAKPOINTS
Certain purchases of Class A Mutual Funds may be eligible for breakpoints on, and waivers of, the sales charge. To learn more about breakpoint discounts, go to
http://www. finra.org/industry/issues/breakpoints. For more information on waiver eligibility, please refer to the fund prospectus.

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Schwab One® Account of

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Manage Your Account

Customer Service and Trading:
Call your Schwab Representative
1-800-435-4000

24/7 Customer Service

For the most current records on your account
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Commitment to Transparency

Client Relationship Summaries and Best Interest
disclosures are at schwab.com/transparency.
Charles Schwab & Co., Inc. Member SIPC.

Online Assistance
Visit us online at schwab,com

Visit schwab.com/stmt to explore the features
and benefits of this statement.

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Statement Period
November 1-30, 2024

Account Number
3131-2465

Account Summary

Ending Account Value as of 11/30"

" $44,215.09

$37,810.58

Beginning Account Value as of 11/01

Dec'23 Jan’24 Feb Mar Apr May Jun Jul Aug Sep Oct

This Statement

Beginning Value $37,810.58
Deposits 0.00
Withdrawals 0.00
Dividends and Interest 12.13
Transfer of Securities 0.00
Market Appreciation/(Depreciation) 6,392.38
Expenses 0.06

_ Ending Value - $44,215.09

$45,5K
' $42.4K
$39.3K
$36.2K
$33.1K
]
'  §30.0K
Nay
YTD
$35,850.04
0.00
0.00
184.34
0.00
8,180.71
0.00
$44,215.09

Account Ending Value reflects the market value of your cash and investments. It does not include pending

transactions, unpriced securities or assets held outside Schwab's custody.

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Schwab One® Account of

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Nye SAG Statement Period
ERIC CHANG November 1-30, 2024

Income Summary

Asset Allocation

Current 50
This Period Allocation
49
Ci BB Cash and Cash Investments 7,911.51 18%
$44.21K HE Equities 36,303.58 82% 6 eee 88 e
- - . a
Total $44,215.09 100% Pe eB
‘ 10
mL. Lo 1 =< 0
--- —_ "oo eee Jan Feb Mar Apr May Jun Jul Aug Sep Oct Nov Des
Top Account Holdings This Period
SYMBOL Market % of This Period YID
CUSIP Description alte Accounts Federal Tax Status Tax-Exempt Taxable Tax-Exempt Taxable
TSLA TESLA INC 17,603.16 40% Bank Sweep Interest 0.00 1.20 0.00 28.49
AAPL APPLE INC 10,205.19 23% Schwab One® 0.00 0.18 0.00 0.18
Cash 7,911.51 18% Interest
DFS DISCOVER FINL SVCS 5,472.90 12% Cash Dividends 0.00 10.75 0.00 155.67
McD MCDONALDS CORP 2,960.10 7% Total Income $0.00 $12.13 $0.00 $184.34
Gain or (Loss) Summary Margin Loan Information
_ (sT}) - LT}
Short-Term Long-Term Opening Margin Closing Margin Funds Available Securities
Gain (Loss) Net Gain (Loss) Net Loan Balance Loan Balance te Withdraw * Buying Power *
= $0.00 $0.00 $31,519.51 $103,126.00
This 0.00 0.00 0.00 0.00 0.00 0.00
Period Margin Loan Rates
YTD 0.00 0.00 0.60 0.00 (14,435.39) (14,435.39) Vary by Balance
a. “ - -e tt 11.00% - 12.82%
Unrealized ! ($28,022.40)
: * Values include any cash plus the amount available using margin borrowing.
Values may not reffect all of your gains/losses and may be rounded up to the nearest dollar, Schwab has For more information about the margin feature, please visit schwab.com/margin.

provided accurate gain and loss information wherever possible for most investments. Cost basis may be
incomplete or unavailable for some of your holdings and may change or be adjusted in certain cases.
Please login to your account at Schwab.com for real-time gain/loss information. Statement information
should not be used for tax preparation, instead refer to official tax documents. For additional information
refer to Terms and Conditions.

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Schwab One® Account of
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Positions - Summary

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‘Dividends

fo memergun ne oe

Beginning Value , Transfer of
as of 11/01 + § Securities(inOut) 39+ Reinvested.
$37,810.58 $0.00 . $0.00

Values may y not reflect all of your gains/losses: ‘Schwab has provided accurate gain and loss information wherever possible for most investments. Cost basis may be incomplete or unavallable for some of your ; holdings

Statement Period

November 1-30, 2024
Change in Ending Value
+ Cash Activity  “* = Market Value === ~—as of 11/30
°$12.13' = $6,392.38 ‘$44,215.09

wae fom om tee

ho Unrealized”
_ CostBasis — Gain/(Loss)
|, $84,325.98 '($28,022.40)

and may change or be adjusted in certain cases. Statement information should not be used for tax preparation, instead refer to official tax documents. For additional information refer to Terms and Conditions.

Cash and Cash Investments

Beginning Ending Change in Period Pending/Unsettled Interest/ % of
Type Symbol Description Quantity Price($) Balance($) Balance($) Balancet$} Cash($) Yield Rate Acct
Cash 0.00 7,911.51 7,911.51 21.00 18%
Bank Sweep Bank Sweep*2 7,899.38 0.00 (7,899.38) 0.10%
Total Cash and Cash investments _ $7,899.38 $7,911.51 $12.13 18%:
Positions - Equities
Symbol Description Quantity Price($) Market Value($) Cost Basis($) GainiLoss)(s) Est. Yield comet) et
AAPL APPLE INC ™ 43.0000 237.33000 10,205.19 5,304.91 4,900.28 0.42% 43.00 23%
DFS DISCOVER FINL vcs ™ Oo 30.0000 182.43000  #§ 547290  —-‘1,657.30 3,815.60 1.53%  B4.00 12%
MCD MCDONALDS corp ™ 10.0000  296.01000 2,960.10 983.50 1,976.60 2.25% 66.80 7%
MMATQ METAMATLSINC = ~~ 89.0000 s«iO.08100—(assi(ité‘—é~S AZ~S*~“‘«‘«‘CYSVBOCS*«44«104.B7) NIA si
TSLA = TESLA INC ™) 51.0000  345.16000 17,603.16 40,200.00. 7,403.16 NIA 0.00 40%
ME 23ANDME HLDG CO ™) 16.0000 3.55000 56.80 5,069.97 (5,013.17) = NIA 0.00 <1%
: / oe _ $36, 303. 58 $64, 328. 98 ($28, 022. 40) $193.80 82%:

Total Equities

Estimated Annual! Income ("EAI") and Estimated Yield ("EY") calculations are for informational purposes only. The actual income and vield might be lower or higher than the estimated amounts. EY is based upon EAI and
the current price of the security and will fluctuate. For certain types of securities, the calculations could include a return of principal or capital gains in which case EAl and EY would be overstated. EY and EAI are not
promptly updated to reflect when an issuer has missed a regular payment or announced changes to future payments, in which case EAI and EY will continue to display at a prior rate.

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Schwab One® Account of

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Transactions - Summary

Statement Period
November 1-30, 2024

Beginning Cash" as of 11/01 + Deposits + Withdrawals + Purchases + SalesRedemptions + Dividends/Interest + | Expenses = Ending Cash” as of 11/30
$7,899.38 $0.00 $0.00 $0.00 $0.00 $12.13 $0.00 $7,911.51
Other Activity $0.00 Other activity includes transactions which don't affect the cash balance such as stock transfers, splits, etc.
*Cash (includes any cash debit balance) held in your acount plus the value of any cash invested in a sweep money fund.
Transaction Details
Symbol/ Price/Rate Charges/ Realized
Date Category Action CUSIP Description Quantity per Share($) Interest($) Amount($) GainLoss)($)
11/14 Dividend Qual. Dividend AAPL APPLE INC 10.75
11/18 Interest Bank Interest %:2 BANK INT 101624-111524 1.16
Interest Bank Interest *2 BANK INT 111624-111724 0.04
11/27 Interest Credit Interest SCHWAB INT 10/30-1 1/26 0.18
Total Transactions / $12.13 $0.00
Date column represents the Settlement/Process date for each transaction.
10/30 through 11/26: $0.18 based on .099% average Schwab One® interest rate paid on 9 days in which your account had an average daily balance of $7,911.40.
Bank Sweep Activity
Date Description Amount Date Description Amount Date Description Amount
41/01 Beginning Balance *2 $7,899.38 11/18 BANK INTEREST *2 0.04 (11/30 Ending Balance *2 $0.00
11/14 BANK CREDIT FROM BROKERAGE * 10.75 1148 BANK TRANSFER TO BROKERAGE (7,911.33) ‘11/29 Interest Rate “7 0.10%
11/15 BANK INTEREST *2 1.16

* Your interest period was 11/20/24 - 11/17/24. 7

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Schwab One® Account of

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RIOR NC Statement Period
ERIC CHANG November 1-30, 2024
Pending / Open Activity
Activity Symbol’ Market Price/ Settte/ Expiration
Type Date Action CUSIP Description Quantity Rate per Share($) Limit Price($} Payable Date Date Amount($)
Pending 11/21 Qual Div DFS DISCOVER FINL SVCS 30.0000 0.7000 12/05 21.00
Total Pending Transactions $21.00

Pending transactions are not included in account value.

Endnotes For Your Account

(M) Denotes a security that is marginable. Some mutual fund or ETF investments may not be
immediately marginable.

x Bank Sweep deposits are held at FDIC-insured Program Banks, which are listed in the Cash
Features Disclosure Statement.

Terms and Conditions

GENERAL INFORMATION AND KEY TERMS: This Account statement is furnished solely by Charles
Schwab & Co., Inc. ("Schwab") for your Account at Schwab ("Account"). Unless otherwise defined herein,
capitalized terms have the same meanings as in your Account Agreement. If you receive any other
communication from any source other than Schwab which purports to represent your holdings at Schwab
(including balances held at a Depository institution) you should verify its content with this statement.
Accrued Income: Accrued Income is the sum of the total accrued interest and/or accrued dividends on
positions held in your Account, but the interest and/or dividends have not been received into your Account.
Schwab makes no representation that the amounts shown (or any other amount) will be received. Accrued
amounts are not covered by SIPC account protection until actually received and held in the Account. AIP
(Automatic Investment Plan) Customers: Schwab receives remuneration in connéction with certain
transactions effected through Schwab. If you participate in a systematic investment program through
Schwab, the additional information normally detailed on a trade confirmation will be provided upon request.
Average Daily Balance: Average daily composite of all cash balances that earn interest and all loans from
Schwab that are charged interest. Bank Sweep and Bank Sweep for Benefit Plans Features: Schwab
acts as your agent and custodian in establishing and maintaining your Deposit Account(s) as a feature of
your brokerage Account(s). Deposit accounts held through these bank sweep features constitute direct
obligations of one or more FDIC insured banks ("Program Banks") that are not obligations of Schwab.
Funds swept to Program Banks are eligible for deposit insurance from the FDIC up to the applicable limits
for each bank for funds held in the same insurable capacity. The balance in the Deposit Accounts can be
withdrawn on your order and the proceeds returned to your brekerage Account or remitted to you as provided
in your Account Agreement. For information on FDIC insurance and its limits, as well as clher important
disclosures about the bank sweep feature(s) in your Account(s), please refer to the Cash Features
Disclosure Statement available online or from a Schwab representative. Cash: Any Free Credit Balance
owed by us to you payable upon demand which, although accounted for on our books of record, is not
segregated and may be used in the conduct of this firm's business. Dividend Reinvestment Customers:
Dividend reinvestment transactions were effected by Schwab acting as a principal for its own account,
except for the reinvestment of Schwab dividends, for which an independent broker-dealer acted as the
buying agent. Further information on these transactions will be furnished upon written request. Gain (or

zZ For the Bank Sweep and Bank Sweep for Benefit Plans features, interest is paid for a period
that differs from the Statement Period. Balances include interest paid as indicated on your
statement by Schwab or cne or more of its Program Banks. These balances do not include
interest that may have accrued during the Statement Pericd after interest is paid. The interest
paid may include interest that accrued in the prior Statement Period.

Loss): Unrealized Gain or (Less) and Realized Gain or (Loss) sections ("Gain/Loss Section{s)"} contain a
gain or a loss summary of your Account. This information has been provided on this statement at the
request of your Advisor, if applicable. This information is not a solicitation or a recommendation to buy or
sell. Schwab does not provide tax advice and encourages you to consult with your tax
professional. Please view the Cost Basis Disclosure Statement for additional information on how
gain (or loss) is calculated and how Schwab reports adjusted cost basis information to the IRS.
Interest: For the Schwab One Interest, Bank Sweep, and Bank Sweep for Benefit Plans features, interest Is
paid for a period that may differ from the Statement Period. Balances include interest paid as indicated on
your statement by Schwab or one or more of its Program Banks. These balances do not include interest that
may have accrued during the Statement Period after interest is paid, The interest paid may include interest
that accrued in the prior Statement Period. For the Schwab One Interest feature, interest accrues daily from
the second-to-last business day of the prior month and is posted on the second-to-last business day of the
current month. For the Bank Sweep and Bank Sweep for Benefit Plans features, interest accrues daily from
the 16th day of the prior month and is credited/posted on the first business day after the 15th of the current
month. [f, on any given day, the interest that Schwab calculates for the Free Credit Balances in the Schwab
One Interest feature in your brokerage Account is less than $,005, you will not accrue any interest on that
day. For balances held at banks affiliated with Schwab in the Bank Sweep and Bank Sweep for Benefit
Plans features, interest will accrue even if the amount is less than $.005, Margin Account Customers:
This is a combined statement of your margin account and special memorandum account maintained for you
under Section 220.5 of Regulation T issued by the Board of Governors of the Federal Reserve System. The
permanent record of the separate account as required by Regulation T is available for your inspection.
Securities purchased on margin are Schwab's collateral for the loan to you. It is important that you fully
understand the risks involved in trading securities on margin. These risks include: 1) You can lose more
funds than you deposit in the margin account; 2) Schwab can force the sale of securities or other assets in
any of your account(s) to maintain the required account equity without contacting you; 3) You are not entitled
to cheose which assets are liquidated nor are you entitled to an extension of time on a margin call; 4}
Schwab can increase its "house" maintenance margin requirements at any time without advance written
notice to you. Market Price: The most recent price evaluation available to Schwab on the last business day

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Schwab One® Account of

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Terms and Conditions (continued)

of the report period, normally the last trade price or bid as of market close. Unpriced securities denote that
no market evaluation update is currently available. Price evaluations are obtained from outside parties.
Schwab shall have no responsibility for the accuracy or timeliness of any such valuations. Assets Not Held
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most current price and are indicated as Stale Priced. Certain Limited Partnerships (direct participation
programs} and unlisted Real Estate Investment Trust (REIT) securities, for which you may see a value on
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national securities exchange, and are generally illiquid. Even if you are able to sell such securities, the price
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Market Value: The Market Value is computed by multiplying the Market Price by the Quantity of Shares.
This is the dollar value of your present holdings in your specified Schwab Account or a summary of the
Market Value summed over multiple accounts. Non-Publicly Traded Securities: All assets shown on this
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compensation as the Investment Advisor, Shareholder Service Agent and Distributor for the Schwab Sweep
Meney Funds. The amount of such compensation is disclosed in the prospectus. The yield information for
Schwab Sweep Money Funds is the current 7-day yield as of the statement period. Yields vary. If on any
given day, the accrued daily dividend for your selected sweep money fund as calculated for your account is
less than % of 1 cent ($0.005), your account will not earn a dividend for that day. In addition, if you do not
accrue at least 1 daily dividend of $0.01 during a pay period, you will not receive a money market dividend for
that period. Schwab and the Schwab Sweep Money Funds investment advisor may be voluntarily reducing a
portion of a Schwab Sweep Money Fund's expenses. Without these reductions, yields would have been

Statement Period
November 1-30, 2024

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funds and net credit balances held in brokerage accounts are not deposits or other obligations of,
or guaranteed by, any bank, are not FDIC insured, and are subject to investment risk and may lose
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insurance coverage. Yield to Maturity: This is the actual average annual return on a note if held to maturity.
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adjusted cost basis information (if applicable), certain payments to you and credits ta your Account during
the calendar year. Retain this statement for income tax purposes. A financial statement for your inspection is
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